




Dismissed and Memorandum Opinion filed May 14, 2009








Dismissed
and Memorandum Opinion filed May 14, 2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00260-CR

____________

&nbsp;

HYSONE M. PATTERSON,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
180th District Court

Harris County, Texas

Trial Court Cause No. 1165663

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to the offense of possession with intent to deliver a
controlled substance.&nbsp; In accordance with the terms of a plea bargain agreement
with the State, the trial court sentenced appellant on March 2, 2009, to
confinement for ten years in the Institutional Division of the Texas Department
of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We dismiss
the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Panel consists of Justices Anderson, Guzman, and
Boyce.

Do Not Publish C Tex. R. App. P.
47.2(b)





